
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-09-157-CR



TORREY CASWELL	APPELLANT



V.



THE STATE OF TEXAS	STATE



------------



FROM THE 213TH DISTRICT COURT OF TARRANT COUNTY



------------



MEMORANDUM OPINION
(footnote: 1)


------------

Appellant Torrey Caswell waived a jury and entered an open plea of guilt to one charge of aggravated robbery with a deadly weapon. &nbsp;He appeals his conviction and sentence of seven years’ confinement.
(footnote: 2) &nbsp;We affirm. &nbsp;&nbsp;

Appellant’s court-appointed appellate counsel has filed a motion to withdraw as counsel and a brief in support of that motion. &nbsp;In the brief, counsel avers that, in his professional opinion, the appeal is frivolous. &nbsp;Counsel’s brief and motion meet the requirements of 
Anders v. California
 by presenting a professional evaluation of the record demonstrating why there are no arguable grounds for relief. &nbsp;
386 U.S. 738, 87 S. Ct. 1396 (1967)
. &nbsp;Appellant declined to file a pro se brief, and the State declined to file a brief.

Once an appellant’s court-appointed attorney files a motion to withdraw on the ground that the appeal is frivolous and fulfills the requirements of 
Anders
, this court is obligated to undertake an independent examination of the record
. &nbsp;
See Stafford v. State
, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); 
Mays v. State,
 904 S.W.2d 920, 922–23 (Tex. App.—Fort Worth 1995, no pet.).
 &nbsp;Only then may we grant counsel’s motion to withdraw. 
 
See Penson v. Ohio,
 488 U.S. 75, 82–83, 109 S. Ct. 346, 351 (1988).

We have carefully reviewed the record and counsel’s brief. &nbsp;We agree with counsel that this appeal is wholly frivolous and without merit; we find nothing in the record that might arguably support the appeal. &nbsp;
See Bledsoe v. 

State,
 178 S.W.3d 824, 827–28 (Tex. Crim. App. 2005); 
see also Meza v. State,
 206 S.W.3d 684, 685 n.6 (Tex. Crim. App. 2006).
 &nbsp;Accordingly, we grant counsel’s motion to withdraw and affirm the trial court’s judgment.

PER CURIAM



PANEL: &nbsp;LIVINGSTON, MCCOY, and MEIER, JJ.



DO NOT PUBLISH

Tex. R. App. P. 47.2(b)



DELIVERED: &nbsp;November 19, 2009

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.


2:The judgment includes a deadly weapon finding.




